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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                     (at London)

   UNITED STATES OF AMERICA,                     )
                                                 )
          Plaintiff,                             )     Criminal Action No. 6: 07-090-DCR
                                                 )
   V.                                            )
                                                 )
   JERRY LEVI MUNCY,                             )        MEMORANDUM OPINION
                                                 )            AND ORDER
          Defendant.                             )


                                    ***   ***    ***   ***

        Defendant Jerry Levi Muncy pleaded guilty to conspiring to manufacture 100 or more

 marijuana plants and was sentenced to 90 months’ imprisonment on March 31, 2008. Upon

 release from detention, Muncy began serving an eight-year term of supervised release.

 Muncy’s supervised release was revoked in September 2015, April 2018, and most recently

 on December 3, 2020, when he was sentenced to five months’ imprisonment. [Record No.

 197]

        The Court has now received a one-page handwritten pro se motion from Muncy seeking

 compassionate release. [Record No. 198] In support, he reports that he suffers from COPD

 and “stage 2/3 black lung.” Additionally, he contends that “there is covid” in the Laurel

 County Correctional Center, where he is being housed. Because Muncy has failed to establish

 extraordinary and compelling reasons for release, and the sentencing factors under 18 U.S.C.

 § 3553(a) do not weigh in favor of a sentence reduction, his motion will be denied.




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                                                I.

        Requests for compassionate release fall under 18 U.S.C. § 3582(c)(1)(A), which

 provides, in pertinent part, as follows:

        the court, . . . upon motion of the defendant after the defendant has fully
        exhausted all administrative rights to appeal a failure of the Bureau of Prisons
        to bring a motion on the defendant’s behalf or the lapse of 30 days from the
        receipt of such a request by the warden of the defendant’s facility, whichever is
        earlier, may reduce the term of imprisonment (and may impose a term of
        probation or supervised release with or without conditions that does not exceed
        the unserved portion of the original term of imprisonment), after considering the
        factors set forth in section 3553(a) to the extent that they are applicable, if it
        finds that—(i) extraordinary and compelling reasons warrant such a reduction.
        ...

        Accordingly, the Court must determine whether extraordinary and compelling reasons

 warranting a sentence reduction exist. United States v. Jones, 980 F.3d 1098, 1107-08 (6th

 Cir. 2020). The Court then considers whether the factors under 18 U.S.C. § 3553(a) justify

 release. Id.

                        A.     Extraordinary and Compelling Reasons

        When an incarcerated person files a motion for compassionate release, the district court

 has “full discretion . . . to determine whether an extraordinary and compelling reason justifies

 compassionate release.” Jones, 908 F.3d at 1109. However, “[s]ection 3582(c)(1)(A) does

 not define ‘extraordinary and compelling reasons.’” United States v. Ruffin, 978 F.3d 1000,

 1004 (6th Cir. 2020). While the policy statement found in U.S.S.G. § 1B.13 of the Sentencing

 Guidelines is not binding, it provides a useful starting point to determine whether extraordinary

 and compelling reasons exist.

        As relevant here, the application notes to § 1B1.13 provide:

        (A)     Medical Condition of the Defendant—
                      (i)   The defendant is suffering from a terminal illness (i.e., a
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        serious and advanced illness with an end of life trajectory). . . . Examples
        include metastatic solid-tumor cancer, amyotrophic lateral sclerosis (ALS), end-
        stage organ disease, and advanced dementia.
                       (ii)   The defendant is—
                              (I)    suffering from a serious physical or medical
        condition,
                              (II)   suffering from a serious functional or cognitive
        impairment, or
                              (III) experiencing deteriorating physical or mental
        health because of the aging process,
        that substantially diminishes the ability of the defendant to provide self-care
        within the environment of a correctional facility and from which he or she is not
        expected to recover.

        U.S.S.G. § 1B1.13 cmt. n.1.

        Muncy reports that he suffers from COPD and black lung disease. However, he has

 not provided any details about the severity of these conditions or any medical documentation

 supporting the diagnoses. Muncy’s Presentence Investigation Report includes a lengthy

 discussion of his physical health and neither of these conditions is mentioned. Muncy advised

 the probation officer that he worked in an underground coal mine in 1977 and from 1984 to

 1985, but the probation officer was not able to confirm this past employment.

        Muncy’s motion is post-marked fewer than three weeks after his last hearing. He does

 not allege that his COPD or black lung disease are acute conditions that developed within the

 last three weeks. Accordingly, these issues could have been raised during the final hearing on

 revocation of supervised release. Further, generalized fears of contracting COVID-19, without

 more, do not constitute a compelling reason for release. See United States v. Bothra, 2020 WL

 2611545, at *2 (6th Cir. May 21, 2020).

                                B.     Section 3553(a) Factors

        Even if Muncy had established extraordinary and compelling reasons for his release,

 the factors enumerated under 18 U.S.C. § 3553(a) do not weigh in favor of release. These
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 factors include the nature and circumstance of the offense; the defendant’s history and

 characteristics; the need for the sentence to reflect the seriousness of the offense, to provide

 deterrence, and to protective the public from further crimes; and the need to avoid unwarranted

 sentencing disparities. § 3353(a).

        At the time of his final revocation hearing, Muncy stipulated to possessing prescription

 medication in an improper container. While this is a Grade C violation, the defendant has

 shown a clear pattern of violating the terms of his supervised release. And while reducing his

 sentence might not pose a substantial danger to the community, it would diminish the

 seriousness of his supervised release violation. Further, a term of imprisonment is needed to

 deter future violations. Finally, Muncy’s guidelines range of imprisonment for this violation

 is five to eleven months. He was sentenced at the bottom of the range and has only served a

 small portion of his sentence thus far. Reducing the sentence further would undermine the

 goal of unwarranted sentencing disparities.

                                               II.

        Based on the foregoing, the defendant’s motion for compassionate release [Record No.

 198] is DENIED.

        Dated: December 30, 2020.




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